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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )       Criminal No. 1:18-cr-062-1
                                           )
          vs.                              )
                                           )            DEFENDANT’S
LARRY NORWOOD,                             )      SENTENCING MEMORANDUM
                                           )
                    Defendant,             )
                                           )

      [¶ 1]. COMES NOW, Defendant Larry Norwood, by and through undersigned

counsel, and hereby reserves and reasserts his previously submitted objections to the

Presentence Investigation Report in this case. (Doc. 84.)

      [¶ 2]. Dated: October 13, 2020.


                                        /S/ Nicholas Thornton
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